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8

9                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     THE UNITED STATES OF AMERICA, ) No. 2:18-CR-0004 DB
                      Plaintiff,       )
12                                     ) STIPULATION
                                       ) CONTINUING STATUS
13
                                       ) CONFERENCE AND EXCLUDABLE TIME;
14         v.                          ) PERIODS UNDER SPEEDY TRIAL ACT;
                                       ) FINDINGS AND ORDER
15
                                       )
16   BOBBIE JEAN SANFORD               ) Date: January 29, 2019
                                       ) Time: 9:00 a.m.
17
                                       ) Court: Hon. Deborah Barns
18                    Defendants.      )
     __________________________________)
19                                 STIPULATION
20
       1. By previous order, this matter was set for status on December 18, 2018.
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22
       2. By this stipulation, defendants now move to continue the status conference for a

23        change of plea until January 29, 2019, and to exclude time between December 18,
24
          2018 and January 29, 2019, under Local Code T4.
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       3. The parties agree and stipulate, and request that the Court find the following:
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27            a. The government has provided a large amount of discovery, including a hard
28               drive with extensive video footage.


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1    b. The parties believe they have reached a settlement in this case. However,
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        defense counsel for Ms. Sanford is unavailable to handle the change of plea
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        on December 18, 2018, as she is currently in trial in People v. Garcia, in
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5       Sacramento Superior Court case number 15F06936.
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     c. January 29, 2019, is the first available date for all parties.
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     d. As counsel needs additional time to ensure a thorough review of the plea
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9       agreement has occurred with her client. Counsel for defendant believes that
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        failure to grant the above-requested continuance would deny counsel the
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        reasonable time necessary for effective preparation, taking into account the
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13      exercise of due diligence.
14   e. The government does not object to the continuance.
15
     f. Based upon the above-stated facts, the ends of justice served by continuing
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        the case as requested outweigh the interest of the public and the defendant

18      in a trial within the original date prescribed by the Speedy Trial Act.
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     g. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
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        3161, et seq., within which trial must commence, the time period of
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22      December 18, 2018, to January 29, 2019, inclusive, is deemed excludable
23
        pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code T4, because it
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        results from a continuance granted by the Court at defendants’ request on
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26      the basis of the Court’s finding that the ends of justice served by taking such

27      action outweigh the best interest of the public and the defendant in a speedy
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        trial.

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1      4. Nothing in this stipulation and order shall preclude a finding that other provision
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           of the Speedy Trial Act dictate that additional time periods are excludable from the
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           period within which a trial must commence.
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5    IT IS SO STIPULATED.
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     Dated: December 16, 2018                         Respectfully submitted,
7
                                                      /s/ Eric Chang
8
                                                      ERIC CHANG
9                                                     Assistant U.S. Attorney

10   Dated: December 12, 2018                         /s/ Kelly Babineau
11
                                                      KELLY BABINEAU
                                                      Attorney for Bobbie Stanford
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15                                   FINDINGS AND ORDER
16         IT IS SO FOUND AND ORDERED.
17   DATED: January 14, 2019                          /s/ DEBORAH BARNES
                                                      UNITED STATES MAGISTRATE JUDGE
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